        Case 1:25-cv-00766-JEB     Document 77   Filed 04/04/25   Page 1 of 36




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

        Plaintiffs,
                                                   Case No: 1:25-cv-00766-JEB
                           v.

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

        Defendants.



                           PLAINTIFFS’ REPLY IN SUPPORT OF
                      THEIR MOTION FOR PRELIMINARY INJUNCTION
              Case 1:25-cv-00766-JEB                           Document 77                    Filed 04/04/25                   Page 2 of 36




                                                          TABLE OF CONTENTS

INTRODUCTION ........................................................................................................................................ 1

ARGUMENT ................................................................................................................................................ 1

   I.         Plaintiffs’ Claims Are Reviewable Under the APA and in Equity and Need Not Be Brought in

   Habeas. ...................................................................................................................................................... 1

   II.        Defendants’ Use of the AEA to Conduct Summary Removals of Class Members Is Reviewable.. 8

   III.          Plaintiffs Are Likely to Success on The Merits. ........................................................................ 10

         A.      The Proclamation Fails to Satisfy the AEA. .............................................................................. 10

         B.      Article II Does Not License the Executive Branch’s Summary Removals. .............................. 14

         C.      Summary Removals Without Notice and a Meaningful Opportunity to Challenge “Alien

         Enemy” Designations Violate the AEA, Due Process, and the APA. ................................................ 14

         D.      The Proclamation Violates the Specific Protections that Congress Established for Noncitizens

         Seeking Humanitarian Protection. ...................................................................................................... 16

         E.      The Proclamation Violates the Procedural Requirements of the INA. ...................................... 19

   IV.           Plaintiffs Face Irreparable Harm Upon Removal to El Salvador, And The Balance of The

   Equities Weighs in Plaintiffs’ Favor. ...................................................................................................... 19

   V.         Class Certification Was and Continues to Be Appropriate. ........................................................... 23

   VI.           The Court Should Not Require Plaintiffs to Provide Security................................................... 24

CONCLUSION ........................................................................................................................................... 25




                                                                                i
          Case 1:25-cv-00766-JEB                        Document 77               Filed 04/04/25               Page 3 of 36




                                                TABLE OF AUTHORITIES
Cases

Abbott Lab’ys v. Gardner,
  387 U.S. 136 (1967) .................................................................................................................... 5

Abrego Garcia v. Noem,
  No. 8:25-cv-951 (D. Md.) ......................................................................................................... 21

Amaya v. Stanolind Oil & Gas Co.,
 62 F. Supp. 181 (S.D. Tex. 1945) .............................................................................................. 11

Amchem Prods., Inc. v. Windsor,
 521 U.S. 591 (1997) .................................................................................................................. 24

Amgen Inc. v. Conn. Ret. Plans & Tr. Funds,
 568 U.S. 455 (2013) .................................................................................................................. 24

Aracely, R. v. Nielsen,
  319 F. Supp. 3d 110 (D.D.C. 2018) ............................................................................................. 2

Bas v. Tingy,
  4 U.S. 37 (1800) ........................................................................................................................ 11

Bauer v. Watkins,
  171 F.2d 492 (2nd Cir. 1948) .................................................................................................... 15

Boudin v. Thomas,
  732 F.2d 1107 (2d Cir. 1984)....................................................................................................... 3

Bowen v. Massachusetts,
  487 U.S. 879 (1988) ................................................................................................................ 3, 4

Brownell v. We Shung,
  352 U.S. 180 (1956) .................................................................................................................... 4

California v. United States,
 104 F.3d 1086 (9th Cir. 1997) ..................................................................................................... 9

Citizens Protective League v. Clark,
  155 F.2d 290 (D.C. Cir. 1946) ....................................................................................... 5, 6, 9, 18

Clinton v. Goldsmith,
  526 U.S. 529 (1999) .................................................................................................................... 5

Damus v. Nielsen,
 313 F. Supp. 3d 317 (D.D.C. 2018) ............................................................................................. 2



                                                                     ii
          Case 1:25-cv-00766-JEB                       Document 77               Filed 04/04/25              Page 4 of 36




Davrod Corp. v. Coates,
 971 F.2d 779 (1st Cir. 1992) ...................................................................................................... 11

DSE, Inc. v. U.S.,
 169 F.3d 21 (D.C. Cir. 1999) ..................................................................................................... 25

DHS v. Thuraissigiam,
 591 U.S. 103 (2020) .................................................................................................................... 2

Epic Sys. Corp. v. Lewis,
  584 U.S. 497 (2018) .................................................................................................................. 17

Ex parte Gilroy,
  257 F. 110 (S.D.N.Y. 1919); .................................................................................................. 9, 15

Fed. Prescription Serv., Inc. v. Am. Pharm. Ass’n,
  636 F.2d 755 (D.C. Cir. 1980) ................................................................................................... 25

Galvan v. Press,
 347 U.S. 522 (1954) .................................................................................................................. 15

Hamdi v. Rumsfeld,
 542 U.S. 507 (2004) .................................................................................................................... 6

Huisha-Huisha v. Mayorkas,
 27 F.4th 718 (D.C. Cir. 2022) .......................................................................................... 2, 17, 19

Holder v. Humanitarian Law Project,
 561 U.S. 1 (2010) ...................................................................................................................... 23

In re Nat’l Nurses United,
  47 F.4th 746 (D.C. Cir. 2022) ...................................................................................................... 5

J.D. v. Azar,
  925 F.3d 1291 (D.C. Cir. 2019) ................................................................................................... 2

J.G.G. v. Trump,
  No. 25-5067, 2025 WL 914682 (D.C. Cir. Mar. 26, 2025) ................................................ passim

Kiobel v. Royal Dutch Petroleum Co,
  569 U.S. 108 (2013) .................................................................................................................. 22

Kiyemba v. Obama,
  561 F.3d 509 (D.C. Cir. 2009) ................................................................................................... 18

LoBue v. Christopher,
  82 F.3d 1081 (D.C. Cir. 1996) ..................................................................................................... 3



                                                                    iii
          Case 1:25-cv-00766-JEB                       Document 77                Filed 04/04/25              Page 5 of 36




Ludecke v. Watkins,
  335 U.S. 160 (1948) ...................................................................................................... 5, 6, 9, 15

Martin v. Mott,
 25 U.S. 18 (1827) ...................................................................................................................... 10

Makekau v. State,
 943 F.3d 1200 (9th Cir. 2019) ..................................................................................................... 5

Morales v. Trans World Airlines, Inc.,
 504 U.S. 374 (1992) .................................................................................................................. 19

Morton v. Mancari,
 417 U.S. 535 (1974) .................................................................................................................. 19

Munaf v. Geren,
 553 U.S. 674 (2008) .............................................................................................................. 2, 18

Nken v. Holder,
  556 U.S. 418 (S. Ct. 2009)…………………………………………………………………….20

O’Banion v. Matevousian,
  835 F. App’x 347 (10th Cir. 2020) .............................................................................................. 4

Page Comms. Eng’rs, Inc. v. Froehlke,
  475 F.2d 994 (D.C. Cir. 1973 .................................................................................................... 25

P.J.E.S. ex rel. Escobar Francisco v. Wolf,
  502 F.Supp.3d 492 (D.D.C. 2020) ............................................................................................. 25

R.I.L-R v. Johnson,
  80 F. Supp. 3d 164 (D.D.C. 2015) ............................................................................................... 2

Sale v. Haitian Centers Council,
  509 U.S. 155 (1993) .................................................................................................................. 18

Shaughnessy v. Pedreiro,
  349 U.S. 48 (1955) ...................................................................................................................... 4

Skinner v. Switzer,
  562 U.S. 521 (2011) .................................................................................................................... 2

Stern v. Fed. Bureau of Prisons,
  601 F. Supp. 2d 303 (D.D.C. 2009) ............................................................................................. 5

Syngeta Crop. Prot., Inc. v. Henson,
  537 U.S. 28 (2002) ...................................................................................................................... 5



                                                                     iv
          Case 1:25-cv-00766-JEB                       Document 77               Filed 04/04/25             Page 6 of 36




TikTok Inc. v. Trump,
  507 F. Supp. 3d 92 (D.D.C. 2020) ............................................................................................. 23

Tulare County v. Bush,
  185 F. Supp. 2d 18 (D.D.C. 2001) ............................................................................................... 4

United States ex rel. Bejeuhr v. Shaughnessy,
 177 F.2d 436 (2d Cir. 1949) ........................................................................................................ 6

United States ex rel. Hoehn v. Shaughnessy,
 175 F.2d 116 (2d Cir. 1949)......................................................................................................... 6

United States ex rel. Jaegeler v. Carusi,
 342 U.S. 347 (1952) .................................................................................................................... 9

United States ex rel. Knauff v. Shaughnessy,
 338 U.S. 537 (1950) .................................................................................................................. 14

U.S. ex rel. Ludwig v. Watkins,
  164 F.2d 456 (2nd Cir. 1947) .................................................................................................... 16

United States ex rel. Schlueter v. Watkins,
 158 F.2d 853 (2d Cir. 1946), ..................................................................................................... 16

United States ex rel. Von Kleczkowski v. Watkins,
 71 F. Supp. 429 (S.D.N.Y. 1947) ............................................................................................... 19

United States ex rel. Zdunic v. Uhl,
 137 F.2d 858 (2d Cir. 1943) ...................................................................................................... 15

United States v. Cortez,
 449 U.S. 411 (1981) .................................................................................................................. 22

United States v. Tinoso,
 327 F.3d 864 (9th Cir. 2003) ..................................................................................................... 19

Vetcher v. Sessions,
  316 F. Supp. 3d 70 (D.D.C. 2018) ............................................................................................... 5

Wal-Mart Stores, Inc. v. Dukes,
 564 U.S. 338 (2011) .................................................................................................................. 24

Zacarias Matos v. Venegas,
  No. 1:25-cv-57 (S.D. Tex.) .......................................................................................................... 8




                                                                    v
          Case 1:25-cv-00766-JEB                         Document 77                 Filed 04/04/25               Page 7 of 36




Statutes
5 U.S.C. § 704 ................................................................................................................................. 3

8 U.S.C. § 1158(b)(1)(A) .............................................................................................................. 18

8 U.S.C. § 1158(b)(2)(A)(ii) ......................................................................................................... 22

8 U.S.C. § 1158(b)(2)(A)(iii) ........................................................................................................ 22

8 U.S.C. § 1225(b) ........................................................................................................................ 20

8 U.S.C. § 1226(c) ........................................................................................................................ 22

8 U.S.C. § 1229a(a)(3) ............................................................................................................ 19, 20

8 U.S.C. § 1231 ............................................................................................................................. 18

8 U.S.C. § 1231(a)(6) .................................................................................................................... 22

8 U.S.C. § 1231(b)(3) ................................................................................................................... 18

8 U.S.C. § 1231(b)(3)(B)(ii) ......................................................................................................... 22

8 U.S.C. § 1231(b)(3)(B)(iii) ........................................................................................................ 22

8 U.S.C. § 1231(b)(3)(B)(iv) ........................................................................................................ 19

8 U.S.C. § 1531 ............................................................................................................................. 20

50 U.S.C. § 21 ............................................................................................................................... 16

50 U.S.C. § 22 ......................................................................................................................... 13, 16


Regulations and Rules

8 C.F.R. § 1208.16 ........................................................................................................................ 19

8 C.F.R. § 1208.17 ........................................................................................................................ 19

8 C.F.R. § 1208.18 ........................................................................................................................ 19

Fed. R. Civ. P. 23(b)(2) ................................................................................................................. 23

Fed. R. Civ. P. 23(c)(1)(B) ............................................................................................................ 23

Fed. R. Civ. P. 23(c)(2) ................................................................................................................. 23

                                                                       vi
         Case 1:25-cv-00766-JEB                     Document 77              Filed 04/04/25            Page 8 of 36




Other Authorities

Black’s Law Dictionary (12th ed. 2024) ....................................................................................... 12

Curtis A. Bradley & Jack L. Goldsmith, Congressional Authorization and the War on Terrorism,
 118 Harv. L. Rev. 2047 (2005) .................................................................................................. 12

Gerald L. Neuman, Habeas Corpus, Executive Detention, and the Removal of Aliens,
 98 Colum. L. Rev. 961 (1998), 118 Harv. L. Rev. 2047 (2005) .................................................. 6

Sheridan, A Complete Dictionary of the English Language (3d ed. 1790) .................................. 12

U.N. Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or
  Punishment, art. 3, Dec. 10, 1984, S. Treaty Doc. No. 100-20 (1988) .................................... 17




                                                                vii
         Case 1:25-cv-00766-JEB         Document 77        Filed 04/04/25      Page 9 of 36




                                        INTRODUCTION

         In a thorough opinion, this Court has already correctly found that Plaintiffs’ claims need

not be brought in habeas; Plaintiffs must be given notice and a meaningful opportunity to contest

their inclusion and removal pursuant to the Proclamation; the balance of harms tips decidedly in

favor Plaintiffs; and class certification was proper. The government has given the Court no reason

to backtrack on any of its prior conclusions.

         The Court also correctly found that it may construe the statutory terms of the AEA, as

Ludecke made clear. At the TRO stage, however, the Court declined to rule on the merits of

whether the Proclamation satisfies the statutory predicates for invoking the AEA. As discussed in

Plaintiff’s opening brief and below—and by Judge Henderson in her concurrence—the

Proclamation does not remotely satisfy the AEA’s statutory criteria. Importantly, although the

Court can, if necessary, review the Proclamations’ conclusory factual assertions, it need not do so

to find that this Proclamation is unlawful. On its face, the Proclamation fails under a proper

construction of the AEA’s statutory criteria. Accordingly, in addition to finding that Plaintiffs

cannot be denied a meaningful opportunity to contest their inclusion under the Proclamation, the

Court should additionally find, as a threshold matter, that the Proclamation is unlawful—even if

process were afforded to contest one’s inclusion.

                                           ARGUMENT

    I.      Plaintiffs’ Claims Are Reviewable Under the APA and in Equity and Need Not
            Be Brought in Habeas.

         This Court has already correctly found that because Plaintiffs are not seeking their release

from detention, their claims need not be brought exclusively in habeas. TRO Op. 13–18.1 The


1
  “TRO Op.” refers to the Court’s Memorandum Opinion denying Defendants’ Motion to Vacate
the TRO, ECF No. 53, “PI Mot.” to Plaintiffs’ Motion for Preliminary Injunction, ECF No. 67-1,
and “Opp.” to Defendants’ Opposition to Motion for Preliminary Injunction, ECF No. 72.
                                                  1
      Case 1:25-cv-00766-JEB           Document 77         Filed 04/04/25      Page 10 of 36




government raises no new arguments to justify revisiting that conclusion.

       The touchstone for whether a claim must be sought exclusively in habeas is whether

success on the claim will mean immediate release (or a shorter period of confinement). Thus, even

where noncitizens detained outside of this District bring claims related to their detention, this Court

and multiple courts in this District have consistently found those claims can be brought under the

APA and equity, as long as success on the claims does not mean immediate release. See TRO Op.

17–18; J.G.G. v. Trump, No. 25-5067, 2025 WL 914682, at *26–27 (D.C. Cir. Mar. 26, 2025)

(Millett, J., concurring); PI Mot. 10; see also, e.g., J.D. v. Azar, 925 F.3d 1291, 1300 (D.C. Cir.

2019) (access to reproductive care in detention); Damus v. Nielsen, 313 F. Supp. 3d 317, 323

(D.D.C. 2018) (APA challenge to compliance with parole directive); Aracely, R. v. Nielsen, 319 F.

Supp. 3d 110, 126–27 (D.D.C. 2018) (APA challenge to deterrence through detention policy);

R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 186 (D.D.C. 2015) (same); Huisha-Huisha v. Mayorkas,

27 F.4th 718 (D.C. Cir. 2022) (APA case challenging expulsions under Title 42).

       As the Supreme Court already explained in DHS v. Thuraissigiam, a claim that could result

in release but ultimately sought the “right to stay in the country” was “reminiscent of the one [the

Court] rejected in Munaf [v. Geren, 553 U.S. 674 (2008)]” and fell “so far outside the ‘core’ of

habeas.” 591 U.S. 103, 119 (2020) (citing Skinner v. Switzer, 562 U.S. 521, 535 n.13 (2011)).

Defendants do not squarely address the reasoning of Thuraissigiam and are simply mistaken in

asserting that Plaintiffs’ claims are ultimately about their detention. See J.G.G., 2025 WL 914682,

at *27 (Millett, J., concurring) (“Like the plaintiffs in Thuraissigiam and Munaf, Plaintiffs here do

not seek release from detention; they want to stay in detention in the United States.”). Defendants

seem to concede the distinction between claims that do and do not seek release, Opp. 15, but largely

ignore that Plaintiffs are plainly not seeking release in this lawsuit. See Proposed Order, ECF No.



                                                  2
      Case 1:25-cv-00766-JEB           Document 77        Filed 04/04/25      Page 11 of 36




67-22 (requesting injunction on removal); Minute Order of Mar. 15, 9:40am EDT (enjoining

removal of named Plaintiffs); Minute Order of Mar. 15, 7:25pm EDT (same for provisional class

members).2

       Instead, Defendants assert that habeas provides an “adequate remedy” within the meaning

of 5 U.S.C. § 704 and therefore should displace APA review. Opp. 15. But if habeas were always

viewed as adequate remedy under Section 704, the entire line of non-habeas cases would be called

into question. The government misapprehends Section 704’s limited purpose. Indeed, when the

Solicitor General first raised Section 704 to the Supreme Court in Bowen v. Massachusetts, the

Court explained that the provision only precludes the APA’s “additional judicial remedies in

situations where the Congress has provided special and adequate review procedures,” namely,

those enacted in “a number of statutes creating administrative agencies defin[ing] the specific

procedures to be followed in reviewing a particular agency’s action.” 487 U.S. 879, 903 (1988)

(discussing, as examples, the Federal Trade Commission and National Labor Relations Board).

The Court thus stressed that Section 704 “should not be construed to defeat the central purpose of

providing a broad spectrum of judicial review of agency action,” because “[a] restrictive

interpretation of § 704 would unquestionably . . . ‘run counter to . . . the Administrative Procedure

Act.’” Id. at 903–04 (quoting Shaughnessy v. Pedreiro, 349 U.S. 48, 51 (1955)). The general

availability of habeas does not constitute the sort of “special and adequate review procedures,” as

narrowly defined in Bowen, that could preclude APA review. Id. at 903.

       And in the immigration context, the Supreme Court has long recognized that the APA’s


2
  For that reason, as previously explained, the government’s reliance on LoBue v. Christopher, 82
F.3d 1081 (D.C. Cir. 1996), is inapt since it involved an extradition case and ultimately would have
led to the plaintiffs’ release. See PI Mot. 10–11. Boudin v. Thomas, is also far afield as it relied
on a question the Supreme Court left open to hold that a challenge to conditions of confinement
was in substance a habeas petition. 732 F.2d 1107, 1111 (2d Cir. 1984). That has no relevance
here where Plaintiffs are not asking for a change in their conditions of confinement (or release).
                                                 3
      Case 1:25-cv-00766-JEB          Document 77        Filed 04/04/25     Page 12 of 36




“generous review” provisions apply in immigration challenges and provide “a right of judicial

review of deportation orders other than by habeas corpus.” Pedreiro, 349 U.S. at 51–52; see also

Brownell v. We Shung, 352 U.S. 180, 181 (1956) (habeas and APA both available). Though certain

challenges to individual removal orders under Title 8 have since been channeled into petitions for

review before the court of appeals, Defendants already concede that Plaintiffs cannot bring their

challenges through the procedures in the INA. Opp. 27. And, notably, neither the Solicitor General

nor any Justice in Pedreiro suggested that Section 704 precluded APA review, notwithstanding the

availability of habeas.

       Defendants’ remaining arguments against APA review are likewise unconvincing.

Regardless of whether Plaintiffs can seek an injunction against the President—and they do not

seek one here, see PI Mot. 14 n.7—the Court can plainly enjoin agency actions implementing the

President’s Proclamation. See id. at 12–14. Unlike in Tulare County v. Bush, 185 F. Supp. 2d 18

(D.D.C. 2001), Opp. 16, Plaintiffs are challenging “final” agency actions, as Defendants have

clearly consummated the agencies’ decisionmaking process and have already removed members

of the provisional class under the Proclamation. See also ECF No. 44 at 19 (further distinguishing

Tulare). O’Banion v. Matevousian, 835 F. App’x 347 (10th Cir. 2020), on which the government

relies, is inapplicable as it addressed a challenge that lower courts treated as an attack on the

execution of the prisoner’s sentence, and hence, had to be raised in habeas. See Stern v. Fed.

Bureau of Prisons, 601 F. Supp. 2d 303, 305 (D.D.C. 2009). Similarly, Vetcher v. Sessions

addressed claims that could be raised in the petition for review process or as a core habeas claim,

so APA review was not available. 316 F. Supp. 3d 70, 77–79 (D.D.C. 2018). Here, the government

cannot point to any statutory text, much less “clear and convincing evidence” of congressional

intent to preclude review of Plaintiffs’ AEA challenges under the APA. Abbott Lab’ys v. Gardner,



                                                4
      Case 1:25-cv-00766-JEB           Document 77         Filed 04/04/25      Page 13 of 36




387 U.S. 136, 141 (1967). And Defendants have not even responded to, and thus have waived,

Plaintiffs’ arguments that they can pursue their claims in equity. See PI Mot. 13–14.3

       Defendants also renew their argument that AEA cases are special, noting that Ludecke v.

Watkins, 335 U.S. 160 (1948), was a habeas case. Opp. 13. But the AEA contains no provision

channeling review exclusively into habeas, and as this Court already found, Ludecke does not say

AEA challenges can only be raised in habeas. TRO Op. 13, 21; Ludecke, 335 U.S. at 170–71.

Defendants also ignore that the D.C. Circuit considered non-habeas AEA cases in Citizens

Protective League v. Clark, 155 F.2d 290, 291–92 (D.C. Cir. 1946), and resolved those

consolidated cases on the merits.4

       Finally, even apart from the fact that habeas is not the exclusive means for Plaintiffs to

bring their claims, the government’s suggestion that there were no practical impediments to

Plaintiffs doing so, Opp. 15, rings hollow. The right to habeas cannot be vindicated without notice

and a reasonable opportunity to pursue that right. See, e.g., Hamdi v. Rumsfeld, 542 U.S. 507, 533



3
  Defendants argue that Plaintiffs cannot pursue their claims under the All Writs Act, Opp. 16, but
their cited cases are inapposite because they: (1) dealt with cases where the courts lacked
jurisdiction for unrelated reasons, see Syngeta Crop. Prot., Inc. v. Henson, 537 U.S. 28, 33–34
(2002) (no federal jurisdiction over state law claim); Clinton v. Goldsmith, 526 U.S. 529, 539–40
(1999) (Court of Criminal Appeals lacked jurisdiction, though respondent could still pursue APA
and other claims in different court); (2) affirmed the “unremarkable proposition that the All Writs
Act does not erase separate legal requirements for a given type of claim,” Makekau v. State, 943
F.3d 1200, 1204 (9th Cir. 2019); or (3) actually support Plaintiffs’ arguments for a writ of
mandamus, see In re Nat’l Nurses United, 47 F.4th 746, 755 (D.C. Cir. 2022) (the All Writs Act
“allows a court to issue writs, including a writ of mandamus, to protect jurisdiction it already has”).
4
  In its habeas section, the government also argues that the scope of habeas review is narrow,
quoting a law review article. Opp. 13. But even if habeas were the exclusive means of raising
Plaintiffs’ claims, the government is wrong about the scope of review. See infra (Reviewability
Section). And the government selectively quotes from the article to assert that habeas review is
only available to determine whether a noncitizen is covered under the AEA, when in fact that
article notes that “courts can review whether war has been declared” and “[r]eview extends to ‘the
construction and validity of the statute.’” Gerald L. Neuman, Habeas Corpus, Executive
Detention, and the Removal of Aliens, 98 Colum. L. Rev. 961, 994 (1998) (quoting Ludecke, 335
U.S. at 171).
                                                  5
      Case 1:25-cv-00766-JEB          Document 77        Filed 04/04/25      Page 14 of 36




(2004) (plurality op.) (alleged “enemy combatant” seeking to challenge his classification must

receive notice and a “meaningful” opportunity to be heard). Because notice is so obviously

fundamental, it was an uncontroversial aspect of prior AEA cases where the petitioners all received

notice as a matter of course. See, e.g., Citizens Protective League, 155 F.2d at 295 (describing

“thirty-day notification of the order” to depart); United States ex rel. Bejeuhr v. Shaughnessy, 177

F.2d 436, 437 (2d Cir. 1949) (petitioner “was notified of the order of removal”); United States ex

rel. Hoehn v. Shaughnessy, 175 F.2d 116, 117 (2d Cir. 1949) (petitioner was “ordered to depart

from the United States within thirty days after receiving notice of the order”). Indeed, as a matter

of the AEA’s proper construction, it is implausible that Justice Frankfurter would have noted that

one can contest their designation under an AEA order, but understood the Act to permit the

government to eliminate any advance notice, rendering the right to contest one’s designation

meaningless as a practical matter.

       The uncontroverted record here reflects that the Plaintiff class cannot access habeas relief

because the government has not provided notice to class members or their immigration attorneys

(if they have them), let alone a meaningful opportunity to seek judicial review.5 See, e.g., ECF

No. 67-5 ¶ 4 (“I was never told that I was being deported because I was being classified as an Alien

Enemy.”); ECF No. 67-6 ¶ 3 (“[N]o officer informed him that they were planning to remove him

to El Salvador, nor did they provide any notice that he was designated an alien enemy under the


5
  Plaintiffs have put in sworn declarations: from the named plaintiffs and their lawyers, none of
whom have ever received any kind of notice regarding the named plaintiffs’ impending removal
under the AEA, see ECF No. 67-5 ¶ 4; ECF No. 67-6 ¶¶ 3, 5; ECF No. 67-7 ¶¶ 5–6; ECF No. 67-
8 ¶¶ 4–5; ECF No. 67-9 ¶¶ 5–6; as well as from the lawyers for three additional class members
who also did not receive notice, ECF No. 67-10 ¶ 3; ECF No. 67-14 ¶¶ 9, 12; ECF No. 67-15 ¶
14; and regarding two individuals who were deported and then were returned, who also did not
receive notice, ECF No. 55-1, ¶¶ 7, 12, 17; ECF No. 67-11 ¶¶ 13–14. Even the government has
been unable to tell one class member’s lawyer the basis for his removal after the fact, where the
only possible basis would be the Alien Enemies Act. See ECF No. 67-10 ¶¶ 14–20.


                                                 6
      Case 1:25-cv-00766-JEB            Document 77        Filed 04/04/25       Page 15 of 36




Alien Enemies Act.”); ECF No. 67-7 ¶ 5 (“Officers never provided any notice whatsoever that he

was subject to the Alien Enemies Act.”); ECF No. 67-8 ¶ 5 (“I have never been provided any notice

that [my client] was designated under the Alien Enemies Act.”); ECF No. 67-9 ¶ 6 (“Nor was I, as

his lawyer, ever given any notice that the Alien Enemies Act was being used against J.A.V.”); ECF

No. 67-11 ¶ 13 (“G.T.B. received no notice that the Alien Enemies Act was being invoked against

her.”). The government has also made clear that if the TRO is lifted, it will immediately resume

summary removals without giving class members any opportunity to contest their designation. See

J.G.G., 2025 WL 914682, at *30 (Millett, J., concurring); id. at *12 (Henderson, J., concurring)

(“Indeed, at oral argument before this Court, the government in no uncertain terms conveyed that—

were the injunction lifted—it would immediately begin deporting the plaintiffs without notice.”).

And the government maintains in its opposition to this Court that it need not provide any notice or

meaningful opportunity for Plaintiffs to contest their designation. See Opp. 23.

       To the extent Defendants have sought to provide notice to any of the Plaintiffs, that “notice”

consists of merely a piece of paper (provided at the eleventh hour) that Defendants seek to have

Plaintiffs sign that expressly states: “You are not entitled to a hearing, appeal, or judicial review of

this notice and warrant of apprehension and removal. Until you are removed from the United

States, you will remain detained . . .” ECF No. 67-21, Ex. 1 at 5; see also ECF No. 55-1 (“While

on the plane the government officials were asking the men to sign a document and they didn’t want

to. The government officials were pushing them to sign the documents and threatening them. I

heard them discussing the documents and they were about the men admitting they were members

of TdA.”).

       Although the government has identified 86 people in detention subject to the Proclamation,

and 172 more who are at liberty, see Cerna Decl. ¶ 6, ECF No. 28-2, Plaintiffs’ counsel is, by



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          Case 1:25-cv-00766-JEB       Document 77        Filed 04/04/25      Page 16 of 36




chance, aware of the identity and location of only a handful of individuals still in the United States

who are class members: including the five named Plaintiffs themselves, and one other represented

individual in Texas who was nearly deported with the group on March 15.6 And Plaintiffs know

of these individuals only because they have immigration counsel who were able to follow their

clients’ complicated transfers, contact undersigned counsel, and happened to be among the large

group that the government sought to remove without any lawful basis, purportedly under the AEA.

No individuals have come to counsel’s attention as having received advance notice that they are

subject to the AEA. Without either notice or an opportunity to contest, habeas is simply

unavailable.

    II.      Defendants’ Use of the AEA to Conduct Summary Removals of Class Members Is
             Reviewable.

          As an initial matter, the government understandably does not appear to contest that this

Court can review on the merits whether the lack of meaningful advance notice violates the AEA

or due process. Instead, the government renews its same basic arguments that the Court cannot

decide if the Proclamation fails to satisfy the AEA’s statutory predicates. These arguments were

already properly rejected by the Court. TRO Op. 19–23; see also J.G.G., 2025 WL 914682, at *5–

10 (Henderson, J., concurring) (explaining why the government’s justiciability arguments are

wrong).

          The government ignores Ludecke’s point blank affirmation that questions regarding the

AEA’s “construction and validity” are reviewable, just as the Ludecke Court itself interpreted the

meaning of “declared war” and applied that interpretation to the facts before it. 335 U.S. at 163,



6
 ECF Nos. 67-5, 67-6, 67-7, 67-8, 67-9 (five named plaintiffs); Zacarias Matos v. Venegas, No.
1:25-cv-57 (S.D. Tex.) (ECF No. 12); see also Mar. 24 D.C. Cir. Tr. at 98:23-25–99:1-2 (Judge
Millett: “Is every one of them in the same jurisdiction in Texas?” Mr. Ensign: “I don’t know.”).
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      Case 1:25-cv-00766-JEB          Document 77        Filed 04/04/25     Page 17 of 36




171; see also United States ex rel. Jaegeler v. Carusi, 342 U.S. 347, 348 (1952) (finding statute’s

“declared war” requirement no longer met and reversing government removal decision). The

government cites Ex parte Gilroy, 257 F. 110, 112 (S.D.N.Y. 1919), and Citizens Protective

League, 155 F.2d at 294, for its blanket claim that “the President’s authority and discretion under

the AEA” is unreviewable. Opp. 11. But those cases show the opposite: both courts interpreted

the meaning of terms in the statute and applied their interpretations to the facts before them. See

Ex parte Gilroy, 257 F. at 128 (interpreting and applying the term “denizen”); Citizens Protective

League, 155 F.2d at 295 (interpreting and applying the term “declared war,” just like Ludecke);

see also PI Mot. 15–16 (collecting cases).

       Nor does the general political question doctrine preclude the Court’s review of Plaintiffs’

claims. Opp. 11–12. As the Court rightly concluded in its TRO decision, it can—and must—

construe the meaning of the statutory terms, such as, “nation,” “government,” “invasion,” and

“predatory incursion.” TRO Op. 22; see also J.G.G., 2025 WL 914682, at *5–8 (Henderson, J.,

concurring) (rejecting government’s political question arguments).

       The government’s arguments to the contrary are baseless. The interpretation of the AEA’s

terms is in no way “textually committed” by the Constitution to other branches, and certainly not

to the executive branch alone, as even Defendants implicitly seem to recognize. See Opp. 12.

(describing “foreign affairs” and immigration” as two areas committed by the Constitution “to the

political branches” (emphasis added)).

       The government is also wrong to argue that there are no “manageable standards” for

interpreting these terms against the factual record. Opp. 12. Their primary support is an out-of-

circuit decision, California v. United States, 104 F.3d 1086, 1091 (9th Cir. 1997). See id. at 11–

12. But as Judge Henderson explained in her concurrence, this case “is inapposite and—insofar



                                                9
         Case 1:25-cv-00766-JEB            Document 77       Filed 04/04/25     Page 18 of 36




as it carries any relevance—cuts directly against the government.” J.G.G., 2025 WL 914682, at

*7 (Henderson, J., concurring); see also id. (the decision merely reflects “the inverse of the

Ludecke principle: just as the courts will not declare a properly declared war ended until the

political branches do so, they will not start a war on the government’s behalf”). Defendants’ other

case, Martin v. Mott, 25 U.S. 18 (1827), is likewise inapposite. Martin addressed a separate statute

concerning the use of militias, and its language about executive power rested on the President’s

need to maintain discipline in military service as leader of the militia. Id. at 30–31.

             As Plaintiffs have explained, even if the Court were to conclude that the Proclamation’s

assertions, on their face, satisfy the AEA’s preconditions, the Court must still review whether TdA

is in fact a “foreign government or nation,” and whether it has in fact engaged in an “invasion or

predatory incursion.” PI Mot. 20–21. It must consider Tren de Aragua’s activities and relationship

to the Venezuelan government based on a broader factual record, just as other courts have reviewed

similar questions. See J.G.G., 2025 WL 914682, at *7 (Henderson, J., concurring); PI Mot. 20–

21.

      III.      Plaintiffs Are Likely to Success on The Merits.

                A. The Proclamation Fails to Satisfy the AEA.

             The Proclamation does not fall within the statutory bounds of the AEA. First, there is no

invasion or predatory incursion within the meaning of the AEA. Defendants emphasize that

“statutes must be read in context.” Opp. 20. But Defendants offer no serious response to Plaintiffs’

(and Judge Henderson’s) arguments demonstrating that the statutory and historical context of

“invasion” and “predatory incursion” clearly indicate that Congress intended to cover military

actions. See PI Mot. 24–25 (applying noscitur a sociis canon to “declared war,” “invasion,” and

“predatory incursion”); id. at 23–24 (discussing historical context in which, in 1798, “invasion”


                                                    10
      Case 1:25-cv-00766-JEB          Document 77        Filed 04/04/25       Page 19 of 36




and “predatory incursion” referred to military actions). Instead, Defendants assert sweepingly

broad definitions of “invasion” and “predatory incursion” that are wholly unmoored from the

statutory and historical context. Defendants’ proposed definitions would unlock staggering

wartime presidential power in situations that fall well short of the statute’s intended scope. And,

understandably, Defendants’ brief does not make any serious claim that TdA’s actions in the United

States are military in nature. Notably, Defendants’ own declarant emphasizes that TdA must be

addressed through “available law enforcement tools.” See Smith ¶ 21, ECF No. 72-1. The natural

inference is that TdA is a law enforcement concern, not a military threat.7

       Second, any purported invasion is not perpetrated by a “foreign nation” or “foreign

government.” Defendants readily admit that TdA is not a “nation” within the meaning of the AEA.

Opp. 20 (“the government has never argued that TdA is itself a “nation”). They instead contend

that TdA is sufficiently intertwined with the Venezuelan government to meet the statutory

predicate. But the statute requires a “nation.” PI Mot. 27–29. And the Proclamation is careful

never to say that TdA is a “nation” or “government.” Indeed, the only nation at issue here is

Venezuela. And the Proclamation is notably silent on any invasion or incursion by the nation of

Venezuela.

       Defendants try to pull findings out of the Proclamation that simply are not there. The

Proclamation never says that TdA is “acting as a criminal governing entity,” nor that TdA is the

“governing authority in the areas where it operates.” See Opp. 20. Instead, it makes vague



7
  Defendants return to the same trio of cases—Amaya v. Stanolind Oil & Gas Co., 62 F. Supp. 181,
189–90 (S.D. Tex. 1945), Davrod Corp. v. Coates, 971 F.2d 779, 789 (1st Cir. 1992), and Bas v.
Tingy, 4 U.S. 37 (1800). But Plaintiffs have already explained: Amaya used the term “predatory
incursion” to describe military actions by a sovereign nation, Mexico, into Texas, 62 F. Supp. at
189–90; the statute in Davrod did not use the term “predatory incursion,” and the court’s use of
the term in passing in 1992 sheds little light on its meaning in 1798, 971 F.2d at 785; and Bas does
not use the terms “invasion” or “predatory incursion” at all, 4 U.S. at 37.
                                                11
      Case 1:25-cv-00766-JEB           Document 77        Filed 04/04/25      Page 20 of 36




allegations that the Venezuelan government has ceded some level of control to various criminal

organizations, not limited to TdA. But that does not establish that TdA is remotely acting as an

independent government, under either modern or founding-era definitions. See, e.g., Sheridan,

Government, A Complete Dictionary of the English Language (3d ed. 1790) (“Form of community

with respect to the disposition of the supreme authority; an establishment of legal authority;

administration of publick affairs”); Government, Black’s Law Dictionary (12th ed. 2024) (“The

sovereign power in a country or state; the political and administrative authority of a state.”).

Defendants’ argument that TdA’s de facto territorial control somehow renders it a “government”

is further belied by the fact that the Proclamation names Venezuela, not TdA, as the relevant

“foreign government.”

       Defendants attempt to bolster the President’s invocation of the AEA against an admittedly

non-state actor by pointing to the government’s history, in other contexts, of using war powers

against such entities. What controls here is the statutory text. Congress knows how to delegate

executive authority to act militarily against non-state actors, and at times it does so. See Curtis A.

Bradley & Jack L. Goldsmith, Congressional Authorization and the War on Terrorism, 118 Harv.

L. Rev. 2047, 2066 (2005) (“Congress was aware that it was authorizing the President to use

military force against non-traditional actors.”). But Congress specifically limited the delegation

here to attacks by a “foreign nation or government”—plainly state actors. It did not, as Defendants

suggest, grant a free-ranging “war power” to the President. It is the historical context of the AEA

itself which indicates that it was intended to address conflicts with foreign sovereigns, not a

criminal gang. See PI Mot. 30 (citing historical record). And, tellingly, the AEA has never been

invoked against any of the non-state actors that Defendants cite, much less during peacetime.

       The rest of the statutory text cuts in Plaintiffs’ favor. Defendants dismiss the AEA’s treaty



                                                 12
      Case 1:25-cv-00766-JEB           Document 77       Filed 04/04/25      Page 21 of 36




clause as not a “prerequisite to inclusion.” Opp. at 21. While a signed treaty between the United

States and the parallel sovereign is not necessarily a prerequisite to invocation of the AEA, the

statute makes clear that foreign nations and governments are the kinds of state actors that would

have the authority to make such a treaty with the United States. See 50 U.S.C. § 22. And

Defendants simply do not engage with Plaintiffs’ point that the Proclamation itself admits that TdA

has “members,” not “natives, citizens, denizens, or subjects,” as required by the statutory text.

       In short, the Court need look no further than the face of the Proclamation to find that the

President’s invocation runs far afield of any “foreign nation or government.” The facts set forth

by Plaintiffs’ experts, Rebecca Hanson, Andres Antillano, and Steven Dudley, only confirm what

the Proclamation itself admits: TdA is neither a nation nor a government within the meaning of the

statute. In fact, Defendants’ declarants, Marcos Charles and Selwyn Smith, are in accord. TdA is

not an organized “nation” or “government.”8 Nor is TdA taking any concerted action on behalf of

the Venezuelan government within the United States.9 Indeed, Defendants’ primary declarant on

TdA points out that the Venezuelan government is investigating multiple members of TdA—

directly undermining their argument that the two entities are “indistinguishable.” See Smith Decl.

¶ 24, ECF No. 72-1.




8
  Compare Smith Decl. ¶ 10, ECF No. 72-1 (TdA is “a loosely organized criminal syndicate”),
and Charles Decl. ¶ 7, ECF No. 72-2 (TdA “leadership splintered” in 2023), with Antillano Decl.
¶ 11, ECF No 67-4 (since 2023, “the group’s coordinating role appears to have weakened”), and
Hanson Decl. ¶ 16, ECF No. 67-3 (“the gang has become increasingly fragmented and
decentralized since 2023”), and Dudley Decl. ¶ 22, ECF No. 67-12 (“since 2023, the group has
become more dispersed and holds less sway”).
9
  Compare Smith Decl. ¶ 9, ECF No. 72-1 (TdA is “a loosely affiliated collection of independent
calls committing disorganized and opportunistic crimes of violence”), with Antillano Decl. ¶ 13,
ECF No. 67-4 (TdA is “a decentralized and uncoordinated group”), and Hanson Decl. ¶ 17, ECF
No. 67-3 (suspected TdA crimes “do not indicate a systemic criminal enterprise”), and Dudley
Decl. ¶ 24, ECF No. 67-12 (“no evidence of a structured or operational presences in the United
States”).
                                                13
      Case 1:25-cv-00766-JEB           Document 77        Filed 04/04/25       Page 22 of 36




            B. Article II Does Not License the Executive Branch’s Summary Removals.

       As Plaintiffs have explained, the government is wrong to argue that the President’s Article

II authority saves the executive’s unlawful implementation of the AEA. Compare PI Mot. 30–32,

with Opp. 22–23. U.S. ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 542 (1950), is not to the

contrary.   PI Opp. 23.     The government overreads language in Knauff about Congress’s

“implementation” of “inherent executive power” with respect to noncitizens. But nothing in

Knauff suggests that the President may ignore the boundaries Congress sets when it “prescribes a

procedure concerning the admissibility of aliens,” much less that the executive has the power to

ignore the boundaries Congress has created regarding removal. Id. at 540, 542. And four years

later, the Supreme Court confirmed that Congress has exclusive power over immigration policy:

       Policies pertaining to the entry of aliens and their right to remain here are peculiarly
       concerned with the political conduct of government. In the enforcement of these
       policies, the Executive Branch of the Government must respect the procedural
       safeguards of due process. But that the formulation of these policies is entrusted
       exclusively to Congress has become about as firmly imbedded in the legislative and
       judicial tissues of our body politic as any aspect of our government.

Galvan v. Press, 347 U.S. 522, 531 (1954) (citations omitted) (emphasis added); see also PI Mot.

31 (discussing Congress’s plenary power over immigration and its distinct set of war powers).

            C. Summary Removals Without Notice and a Meaningful Opportunity to
               Challenge “Alien Enemy” Designations Violate the AEA, Due Process, and the
               APA.

       This Court has already correctly held that Defendants must afford Plaintiffs a meaningful

opportunity to challenge their designation as alien enemies before removal under the Proclamation

is permissible. TRO Op. 23–24, 30; see also J.G.G., 2025 WL 914682, at *21 (Millett, J.,

concurring) (“[T]he government agrees that individuals are entitled to challenge in court whether

they fall within the terms of the AEA or are otherwise not lawfully removable under it.”).

       Meaningful notice and opportunity to obtain judicial review is required under the AEA,

                                                 14
      Case 1:25-cv-00766-JEB             Document 77       Filed 04/04/25      Page 23 of 36




APA, and due process (and as a matter of habeas law, if that were the required means of seeking

review). Ludecke expressly affirmed that there must be an opportunity to contest an individual’s

designation “by the courts.” 335 U.S. at 171 n.17; see also, e.g., Ex parte Gilroy, 257 F. at 114–

24; United States ex rel. Zdunic v. Uhl, 137 F.2d 858, 860 (2d Cir. 1943); Bauer, 171 F.2d at 493–

94.   It is thus clear that the AEA does not grant the Executive unfettered discretion—it

contemplates meaningful opportunity to challenge an individual’s designation. See, e.g., J.G.G.,

2025 WL 914682, at *14 (“due process requires notice of adverse governmental action”); TRO

Op. 30.

          Defendants contend that the “statute permits absolute discretion to establish the conditions

and processes the Executive will use to implement a Presidential Proclamation . . . and whatever

those procedures are effectively constitute due process for purposes of the AEA.” Opp. 23.

Defendants cite United States ex rel. Schlueter v. Watkins, 158 F.2d 853, 853 (2d Cir. 1946), for

this sweeping assertion, but Schlueter, a pre-Ludecke case, carved out that a hearing was necessary

precisely “on the issue of whether or not the relator actually is an alien enemy.” 158 F.2d at 853.

And, as this Court has correctly held, “summary deportation following close on the heels of the

Government’s informing an alien that he is subject to the Proclamation—without giving him the

opportunity to . . . challenge the basis for the order—is unlawful.” TRO Op. 30.

          Defendants fare no better in invoking 50 U.S.C. § 21 to argue that the President may

remove individuals without first providing an opportunity for voluntary departure. Opp. 23–24.

Section 21 contains no such exception. To the contrary, the right to voluntary departure is a

“statutory condition precedent” to removal under Section 21. U.S. ex rel. Ludwig, 164 F.2d at 457;

see also J.G.G., 2025 WL 890401, at *14 (Millet, J., concurring). Indeed, even during World War

II, courts interpreting the AEA consistently recognized that “alien enemies” retained the right to



                                                  15
      Case 1:25-cv-00766-JEB          Document 77       Filed 04/04/25      Page 24 of 36




voluntary departure. See PI Mot. 33 (citing cases). Defendants are remarkably silent on that line

of precedent. In any event, whether individuals have a right to voluntarily depart, they certainly

have a right, under Ludecke, to contest their removal under the Proclamation.

       Defendants mistakenly invoke Section 22’s exception for those “chargeable with actual

hostility, or other crime against public safety” to suggest that voluntary departure rights may be

categorically denied. Opp. 24 (citing 50 U.S.C. § 22). But that exception requires a specific,

individualized finding—each noncitizen must be “chargeable” with actual hostility or a crime

against public safety. Defendants have made no such showing here, let alone afford any process

to contest such a determination. In any event, even if the government could override the right to

voluntarily depart, it cannot eliminate a meaningful opportunity to contest one’s designation.

       In sum, the AEA, APA, and due process unequivocally require that Plaintiffs receive

meaningful notice and opportunity to obtain judicial review. Their summary removal processes

are therefore flatly unlawful.

           D. The Proclamation Violates the Specific Protections that Congress Established
              for Noncitizens Seeking Humanitarian Protection.

       Even if the AEA could be used against TdA during peacetime, and even if process need not

be provided to contest one’s designation, summary removal would be unlawful for an additional

independent reason: it fails to provide designated individuals with an opportunity to seek

protection from persecution and torture. Defendants argue that there is no direct conflict between

the Foreign Affairs Reform and Restructuring Act (“FARRA”) and removals under the AEA

because the United States avoids removals to countries where noncitizens will likely be tortured.

Opp. 24. But that assertion ignores the record evidence about the Salvadoran prison. More

fundamentally, it ignores the central defect in the Proclamation: it categorically forecloses any

opportunity for individuals to invoke CAT protections to show they would face torture. Indeed,

                                                16
      Case 1:25-cv-00766-JEB           Document 77        Filed 04/04/25      Page 25 of 36




this Court recognized that Plaintiffs were not only barred from raising a torture claim but also were

effectively precluded from doing so because Defendants never informed them of the country to

which they would be removed—directly contravening protections enacted by Congress. See TRO

Op. 33. Defendants also try to evade CAT protections by arguing that the INA and AEA provide

their own separate removal systems. Opp. 25. In doing so, they fail to address Huisha-Huisha v.

Mayorkas, 27 F.4th 718 (D.C. Cir. 2022), which is “on all fours” with this case. See TRO Op. 32–

33. Both the AEA and INA could—and therefore must—be given effect. Huisha-Huisha, 27 F.4th

at 721, 731–32 (citing Epic Sys. Corp. v. Lewis, 584 U.S. 497, 510 (2018) (“When . . . confronted

with two Acts of Congress allegedly touching on the same topic,” a court “must strive to give effect

to both.”) (cleaned up)). Because no genuine conflict exists between the AEA and INA, this Court

correctly harmonized these statutes by concluding that FARRA’s protections apply to removals

under the AEA. See TRO Op. 32–33.

       Defendants next rely on a vague assertion that this Court may not question its determination

that a potential recipient country is not likely to torture a detainee. Opp. 24 (citing Kiyemba v.

Obama, 561 F.3d 509, 514 (D.C. Cir. 2009) and Munaf, 553 U.S. at 702). But both those cases

involved detainees held by the U.S. military abroad and raised issues of transfers—not the

domestic enforcement of statutory protection against removal to torture. Indeed, Munaf expressly

noted that CAT “speaks to situations where a detainee is being ‘returned’ to ‘a country,’” and thus

it was not likely applicable to petitioners who were already in a different country and seeking to

block their transfers within that country. 533 U.S. at 703 n.6 (cleaned up). The government’s

reliance on Citizens Protective League, 155 F.2d 290, fares no better. Opp. 25. That case predates

CAT by more than fifty years, but Congress has since enacted obligations that impose an explicit

statutory bar on removing individuals to countries where they are more likely than not to face



                                                 17
      Case 1:25-cv-00766-JEB          Document 77        Filed 04/04/25      Page 26 of 36




torture. 8 U.S.C. § 1231 note. That protection is not discretionary and does not turn on the

Executive’s unilateral judgment.

       The AEA can similarly be harmonized with other subsequently enacted statutes specifically

designed to protect noncitizens seeking asylum and withholding of removal. See PI Mot. 35–36.

Defendants argue again that the AEA is entirely outside that statutory framework. Opp. 25–26

(citing 8 U.S.C. §§ 1158(b)(1)(A), 1231(b)(3); Sale v. Haitian Centers Council, 509 U.S. 155

(1993)). But neither the statutory text nor Sale supports that sweeping claim. First, Sale addressed

the INA’s extraterritorial application, not whether it applies to individuals who—like Plaintiffs

here—are physically present in the United States and seek to invoke domestic protections. 509

U.S. at 155, 159–60. And second, while the Attorney General and DHS administer asylum and

withholding, their availability is governed by Congress and cannot be categorically displaced by

Executive discretion. See Opp. 25. A blanket bar based solely on AEA designation is flatly

incompatible with the INA’s requirement of case-by-case adjudication, including under 8 U.S.C.

§ 1231(b)(3)(B)(iv). The statutory and regulatory framework confirms that eligibility for asylum

and withholding turns on individualized determinations. See 8 C.F.R. §§ 1208.16–18. And

Huisha-Huisha offers no support for Defendants’ position. There, the D.C. Circuit upheld only

limited asylum restrictions based on Section 265’s specific reference to suspend the “introduction”

of persons—not those already present in the United States—and harmonized the statutes because

asylum does not address public health bars. See 27 F.4th at 730–31. By contrast, the AEA contains

no analogous language authorizing blanket exclusions and applies to noncitizens already on U.S.

soil. And asylum already provides specific, case-by-case bars based on danger, criminality, and

national security, underscoring that Congress chose not to impose a categorical bar to asylum under

the AEA, see infra.



                                                18
      Case 1:25-cv-00766-JEB           Document 77        Filed 04/04/25     Page 27 of 36




            E. The Proclamation Violates the Procedural Requirements of the INA.

         Defendants recycle their erroneous claim that the AEA and INA constitute wholly separate

removal regimes, and that the INA’s procedural mechanisms are therefore irrelevant. Opp. 26–27.

Their reliance on United States ex rel. Von Kleczkowski v. Watkins, 71 F. Supp. 429 (S.D.N.Y.

1947), is misplaced. Opp. 26. That decision predates the INA and offers no meaningful insight

into how the modern, exclusive removal framework established by Congress applies to AEA

removals. See 8 U.S.C. § 1229a(a)(3); United States v. Tinoso, 327 F.3d 864, 867 (9th Cir. 2003).

Nor do the interpretive canons from Morales v. Trans World Airlines, Inc., 504 U.S. 374 (1992),

or Morton v. Mancari, 417 U.S. 535 (1974), support Defendants’ position. Opp. 27. If anything,

they cut the other way. The INA—not the AEA—is the more specific statute when it comes to

removal procedures. Unlike the AEA, the INA sets forth detailed removal procedures and

expressly provides exceptions for specific categories of noncitizens, including those who pose

national security risks. See, e.g., 8 U.S.C. §§ 1227(a)(4), 1229a(a)(3), 1531 et seq. Congress knew

of the AEA when it enacted the INA and yet deliberately declined to exclude AEA-based removals

from this statutory scheme—even as it carved out express exceptions elsewhere. See, e.g., §§

1225(b), 1531. That choice speaks volumes and reflects Congress’s intent to bring all removal

processes within a uniform statutory scheme.

   IV.      Plaintiffs Face Irreparable Harm Upon Removal to El Salvador, And The Balance
            of The Equities Weighs in Plaintiffs’ Favor.

         Defendants broadly fall back to asserting “removal does not by itself ordinarily constitute

irreparable harm,” as if this case involved run-of-the-mill deportations. Opp. 27 (citing Nken v.

Holder, 556 U.S. 418, 435 (2009)). It does not. Defendants removed Plaintiffs in secret, without

due process, to a prison in a third country known for dire conditions, torture, and other forms of

physical abuse—possibly for life. See Bishop Decl. ¶¶ 2, 21, 33, 37, 39, 41, ECF No. 44-4

                                                 19
      Case 1:25-cv-00766-JEB           Document 77        Filed 04/04/25      Page 28 of 36




(describing “harsh and life threatening” conditions in these prisons, including through widespread

physical abuse, waterboarding, electric shocks, implements of torture and other mistreatment);

Goebertus Decl. ¶¶ 3–4, 8, 10, 17, ECF No. 44-3 (noting “cases of torture, ill-treatment,

incommunicado detention, severe violations of due process and inhumane conditions”); see also

PI Mot. 39 (describing evidence that Plaintiffs may never get out of CECOT). That harm is

categorically different than Nken. The petitioner Nken had his fear claims adjudicated by an

immigration judge, reviewed by the Board of Immigration Appeals (along with a second and third

motion to reopen), and considered by the circuit court. Nken, 556 U.S. at 422. Plaintiffs here have

had no opportunity to have their fear claims as to El Salvador or Venezuela considered by any

adjudicator. TRO Mot. 6–8, ECF No. 3-2. And Nken, of course, explicitly relied on a removed

person’s ability to return in concluding that the harm of removal was not irreparable. 556 U.S. at

435. But there is no chance that Plaintiffs can return following a successful petition for review

because their claims have not even been adjudicated in the first instance. If the real risk of swift,

wrongful removal on flimsy evidence to imprisonment abroad in a prison system known for torture

and abuse—with the possibility of return being unknown—is not irreparable harm, it is hard to

imagine what would qualify.

       Moreover, Defendants’ system for identifying alleged TdA members runs the obvious, and

quite serious, risk of erroneous designations.10 See PI Mot. 5–6 (explaining that numerous criteria

the government uses to determine membership have no valid basis). And it is now clear that if the

government errs—as it did in removing a Salvadoran man to CECOT on the third March 15 flight,


10
   All of the named plaintiffs deny membership in TdA. ECF No. 3-3 ¶ 3; ECF No. 3-6 ¶ 12;
ECF No. 3-8 ¶ 5; ECF No. 44-11 ¶ 3; ECF No. 44-9 ¶ 4. Evidence demonstrates that similar
allegations against other class members do not pass muster. See, e.g., ECF No. 44-5 ¶¶ 7–9; ECF
No. 44-6 ¶ 7; ECF No. 44-7 ¶ 9; ECF No. 44-8 ¶ 7; ECF No. 44-13 ¶ 6; ECF No. 67-17 ¶¶ 5, 9;
ECF No. 67-18 ¶ 6; ECF No. 67-19 ¶ 9; ECF No. 67-20 ¶ 3. And there are many news stories
detailing other erroneous designations. ECF No. 67-21, Exh. 4–18.
                                                 20
      Case 1:25-cv-00766-JEB            Document 77        Filed 04/04/25       Page 29 of 36




despite the fact he had been granted withholding of removal as to El Salvador—it will take no

immediate steps to remedy even a confessed error, and will argue that courts have no ability to

remedy the situation. See Abrego Garcia v. Noem, No. 8:25-cv-951, ECF No. 11-3 ¶¶ 11– 15 (D.

Md. Mar. 31, 2025); id. ECF No. 12-1, at *8 (Apr. 1, 2025).

        Compounding the irreparable injury, “the government has confessed that its preference that

plaintiffs use habeas corpus to challenge their eligibility for AEA removal is a phantasm.” J.G.G.,

2025 WL 914682, at *30 (Millett, J., concurring). As noted, the government’s own form states

explicitly that the noncitizen is “not entitled to . . . judicial review of this notice.” ECF No. 67-21,

Ex. 1 at 5. It is undoubtedly “irreparable injury to reduce to a shell game the basic lifeline of due

process before an unprecedented and potentially irreversible removal occurs.” J.G.G., 2025 WL

914682, at *30 (Millett, J., concurring).

        The balance of equities and the public interest factors similarly weigh decidedly in favor

of Plaintiffs. The government’s purported harm includes allegations about negotiations and

foreign policy. Opp. 29 (“foreign actors may ‘change their minds’”) (emphasis added). This

ambiguity pales in comparison to the concrete harms Plaintiffs face. J.G.G., 2025 WL 914682, at

*11 (Henderson, J., concurring (“Equity will not act ‘against something merely feared as liable to

occur at some indefinite time.’”) (citation omitted). And as the Court has repeatedly stressed,

Defendants remain free to detain and remove individuals they believe to be security threats under

existing statutory authority and by lawful means. See e.g., 8 U.S.C. §§ 1158(b)(2)(A)(ii)–(iii)

(noncitizens barred from asylum if convicted of particularly serious crime or if there are “serious

reasons for believing” they “committed a serious nonpolitical crime” outside the U.S.); id.

§ 1231(b)(3)(B)(ii)–(iii) (same for withholding); see also id. §§ 1226(c),1231(a)(6). ICE detention

is well-equipped to manage detention of gang members. See Fleischaker Decl. ¶¶ 18–20, ECF No.



                                                  21
      Case 1:25-cv-00766-JEB            Document 77        Filed 04/04/25       Page 30 of 36




44-2 (ICE regularly detains gang members). One of ICE’s core functions is to evaluate security

risks posed by detainees and to ensure the safe and secure detention of anyone who may pose a

risk to the public. Id. ¶¶ 10, 20.

        Defendants’ cases do little to advance their position. In United States v. Cortez, 449 U.S.

411, 421 (1981), the Court considered whether officers had a sufficient basis to conduct an

investigatory traffic stop near the border. Id. The case merely stands for the uncontroversial

general point that the public has an interest in border security. Id. at 421 n.4. Kiobel v. Royal

Dutch Petroleum Co. similarly does not address irreparable harm or preliminary injunctions and

is not on point. 569 U.S. 108 (2013). Kiobel cautions against unwarranted judicial interference

on extraterritorial claims arising in a foreign sovereign’s territory, but this case deals with unlawful

actions by the U.S. government within U.S. territory. Id. at 116. And while Humanitarian Law

Project granted deference to the executive branch on a discrete factual question—whether all

contributions to a terrorist organization further terrorism—that question has no bearing on the

equities here. 561 U.S. 1, 33–34 (2010).

        The Government attempts to justify its extraordinary use of the AEA during peacetime to

summarily deport individuals without due process by relying on vague notions of national security

and executive power. But where an injunction covers only deportation, and the President can

continue to deport individuals under the INA, it places only a very “limited” burden on the

President’s statutory power under the AEA. J.G.G., 2025 WL 914682, at *12 (Henderson, J.,

concurring). Nor can the government engage in unlawful conduct contrary to statutory and

constitutional law in order to meet its political goals. See, e.g., TikTok Inc. v. Trump, 507 F. Supp.

3d 92, 115 (D.D.C. 2020) (“[t]here is generally no public interest in the perpetuation of unlawful

agency action” (quoting League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir.



                                                  22
          Case 1:25-cv-00766-JEB        Document 77        Filed 04/04/25     Page 31 of 36




2016)).

          In short, the government does not seriously contest that Plaintiffs will face grave harm.

And the government’s unsubstantiated harm is outweighed by the critical public interest in keeping

a check on the Executive’s extraordinary overreach of power to curtail the most fundamental

constitutional liberties.

     V.      Class Certification Was and Continues to Be Appropriate.

          The only substantive argument the government raises against class certification is that the

class lacks the cohesiveness and ascertainability necessary for classwide proceedings. Opp. 30–

31.11 This misapprehends Plaintiffs’ claims. Plaintiffs are bringing a systemic challenge to the

government’s authority to invoke the AEA and remove anyone whom the government designates

to be a TdA member without compliance with the AEA, INA, APA, and due process. Classwide

proceedings as to any one of those issues will generate a common answer to at least one common

question, which suffices to satisfy commonality. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

359 (2011). The named Plaintiffs’ claims are also typical of, and they adequately represent, the

class because the class is defined as those who are “subject to” the Proclamation, regardless of

whether they choose to contest TdA membership. The government suggests that the class is not

“ascertainable,” Opp. 29, but the class definition here clearly references a specific set of persons

designated by the government and identifiable by the criteria that the government has chosen. See

Cerna Decl. ¶ 6, ECF No. 28-2 (providing the number of people in the United States designated

under the AEA).

          Class members also seek the same relief, including an injunction and declaration against


11
  The government alludes to Rule 23’s requirement that a court “direct appropriate notice [of the
class certification decision] to the class,” Opp. 30 (quoting Fed. R. Civ. P. 23(c)(1)(B), (2)), but
that provision does not apply to Rule 23(b)(2) classes like the one here.
                                                  23
       Case 1:25-cv-00766-JEB           Document 77       Filed 04/04/25      Page 32 of 36




implementation of the Proclamation, as well as a fair process for those “subject to” the

Proclamation. Regardless of each class member’s individual facts and defenses to an accusation

of TdA membership, Plaintiffs need to show only that their proposed class claims can be litigated

on a classwide basis by rising or falling together.12 See Amgen Inc. v. Conn. Ret. Plans & Tr.

Funds, 568 U.S. 455, 459–60 (2013).

           Class certification here is not only appropriate and in accordance with Rule 23, but is

especially crucial considering the government’s express admission that it is not providing

individuals notice that they will be subject to removal pursuant to the Proclamation, supra. And

notwithstanding the foregoing reasons for which this court’s provisional certification of the class

was entirely proper, for the avoidance of doubt, Plaintiffs respectfully request that this Court issue

a written decision recertifying the class, defining the class claims, and appointing the undersigned

as class counsel under Rule 23(g).

     VI.      The Court Should Not Require Plaintiffs to Provide Security.

           Finally, if it grants a preliminary injunction, this Court should waive bond (or impose

nominal bond of $1, see Page Comms. Eng’rs, Inc. v. Froehlke, 475 F.2d 994, 997 (D.C. Cir.

1973)). Rule 65(c) “vest[s] broad discretion in the district court.” DSE, Inc. v. United States, 169

F.3d 21, 33 (D.C. Cir. 1999). Consistent with that discretion, this Court “has power” to issue a

preliminary injunction but “dispense with any security requirement.” Fed. Prescription Serv., Inc.

v. Am. Pharm. Ass’n, 636 F.2d 755, 759 (D.C. Cir. 1980). Given the nature of this case and the

Plaintiff class, bond here is wholly inappropriate. See P.J.E.S. ex rel. Escobar Francisco v. Wolf,

502 F. Supp. 3d 492, 550 (D.D.C. 2020).


12
   There also is no conflict of interest between Plaintiffs and the class as there was in Amchem
Prods., Inc. v. Windsor, 521 U.S. 591 (1997), PI Mot. 31, given that Plaintiffs have just as much
of an interest in challenging the Proclamation as other members of the class.
                                                 24
Case 1:25-cv-00766-JEB        Document 77          Filed 04/04/25   Page 33 of 36




                                CONCLUSION

The court should grant a preliminary injunction.




                                       25
     Case 1:25-cv-00766-JEB      Document 77      Filed 04/04/25     Page 34 of 36




Dated: April 4, 2025                       Respectfully submitted,

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                                          26
Case 1:25-cv-00766-JEB   Document 77    Filed 04/04/25      Page 35 of 36




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                                27
      Case 1:25-cv-00766-JEB          Document 77        Filed 04/04/25      Page 36 of 36




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2025, I electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

Dated: April 4, 2025                            Respectfully Submitted,

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                                                28
